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                   O'REILLY LAW GROUP, LLC
                   John F. O'Reilly, Esq.
              2    Nevada Bar No. 1761
                   Timothy R. O'Reilly, Esq.
              3    Nevada Bar No. 8866
                   325 S. Maryland Parkway
               4   Las Vegas, Nevada 89101
                   Telephone: (702) 382-2500
               5   Facsimile: (702) 384-6266
                   E-Mail: efile@oreillylawgroup.com
               6   Attorneys for
                   LEGACY PROPERTIES LLC
               7

               8                            UNITED STATES BANKRUPTCY COURT

               9                                       DISTRICT OF NEVADA

                   In Re:                                       )   CASE NO.: 2:17-bk-14566-abl
                                                                )   Chapter 7
                      MONIQUE KASHAY BROWN,                     )
                                                                )
                             Debtor.                            )   NOTICE OF ENTRY OF ORDER
                                                                )   GRANTING LEGACY PROPERTIES,
Law Offices




                                                                )   LLC's MOTION FOR RELIEF FROM
                                                                )   AUTOMATIC STAY
                                                                )
                                                                )


                   TO: THE HONORABLE JUDGE AUGUST B. LANDIS, THE DEBTOR, AND ALL
                        OTHER INTERESTED PARTIES:

              18            COMES NOW, LEGACY PROPERTIES, LLC, ("Legacy") and does hereby provide

              19 NOTICE that an Order Granting Legacy Properties' Motion for Relief from Automatic Stay

              20 ("Order") was entered in this matter as ECF No. 26 on October 4, 2017 and is attached hereto as

              21 Exhibit 1.

              22
                   Dated: October 4, 2017                     O'REILLY LAW GROUP, LLC
              23

              24                                              By: /s/ Timothy R. O'Reilly
                                                                John F. O'Reilly, Esq.
              25                                                Nevada Bar No. 1761
                                                                Timothy R. O'Reilly, Esq.
              26                                                Nevada Bar No. 8866
                                                                325 S. Maryland Parkway
              27
                                                                Las Vegas, Nevada 89101
              28                                                Attorneys for LEGACY PROPERTIES LLC

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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I am employed in the law offices of O'REILLY LAW GROUP,

LLC and that, on October 4, 2017, I served, in accordance with LR 5-4 and Fed. R. Civ. P. 5(b)(2),

the foregoing NOTICE OF ENTRY OF ORDER GRANTING LEGACY PROPERTIES,

LLC'S MOTION FOR RELIEF FROM AUTOMATIC STAY AS FOLLOWS:

By electronic transmission through the ECF filing system of the U.S. District Court, District of Nevada to:

        All entities as listed on CM/ECF


By U.S. Mail to:

        Debtor
        Monique Kashay Brown
        6550 Laredo Street
        Las Vegas, Nevada 89146

Signed on: October 4, 2017


                                                       4)6 LLt L.              6-(A)      /
                                                 An Employee of O'REIL Y Lý GROUP, LLC




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